                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 1 of 29



                      1   FOLGER LEVIN LLP
                          Jiyun Cameron Lee (CSB No. 161667, jlee@folgerlevin.com)
                      2   Marie Jonas (CSB No. 278952, mjonas@folgerlevin.com)
                          Sherri M. Hansen (CSB No. 302903, shansen@folgerlevin.com)
                      3   199 Fremont Street, 20th Floor
                          San Francisco, CA 94105
                      4   Telephone: 415.625.1050
                          Facsimile: 415.625.1091
                      5
                          Attorneys for Defendant LYFT, INC.
                      6

                      7

                      8                                    UNITED STATES DISTRICT COURT
                      9                              NORTHERN DISTRICT OF CALIFORNIA
                  10

                  11      INDEPENDENT LIVING RESOURCE                       Case No. 3:19-cv-01438-WHA
                          CENTER SAN FRANCISCO, a California
                  12      non-profit corporation, JUDITH SMITH,             DEFENDANT LYFT, INC.’S OPPOSITION
                          an individual, JULIE FULLER, an                   TO PLAINTIFFS’ MOTION FOR CLASS
                  13      individual, SASCHA BITTNER, an                    CERTIFICATION
                          individual, TARA AYRES, an individual,
                  14      and COMMUNITY RESOURCES FOR                       Date:         February 20, 2020
                          INDEPENDENT LIVING, a California                  Time:         8:00 a.m.
                  15      non-profit corporation,                           Judge:        Hon. William Alsup

                  16                         Plaintiffs,

                  17             v.

                  18      LYFT, Inc., a Delaware corporation,

                  19                         Defendant.

                  20

                  21

                  22

                  23

                  24

                  25

                  26

                  27

                  28
F OLGER L EVIN   LLP                                                                          DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                                       PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                         CASE NO. 3:19-CV-01438-WHA
                            Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 2 of 29



                      1                                                  TABLE OF CONTENTS
                      2                                                                                                                                   Page
                      3   I.     INTRODUCTION .............................................................................................................. 1
                          II.    FACTUAL BACKGROUND ............................................................................................. 2
                      4
                                 A.   Lyft’s Business ........................................................................................................ 2
                      5          B.   Driving On The Lyft Platform ................................................................................ 3
                      6          C.   Riding On The Lyft Platform .................................................................................. 3
                                 D.   Wheelchair Accessible Vehicles (WAVs) .............................................................. 4
                      7
                                 E.   State And Local Requirements Regarding WAVs .................................................. 5
                      8               1.      New York City ............................................................................................ 5
                      9               2.      California..................................................................................................... 6
                                 F.   Lyft’s SF WAV Pilot .............................................................................................. 6
                  10
                                 G.   Plaintiffs Have Not Tried The SF WAV Pilot ........................................................ 7
                  11             H.   Lyft’s Plan For A New Three-County Pilot ............................................................ 8
                  12      III.   ARGUMENT ...................................................................................................................... 9
                                 A.   The Premise Of Plaintiffs’ Motion And Class Definition – That Lyft
                  13                  Discriminates By Failing To Provide WAV Service – Is Contrary To The
                                      ADA’s Legal Framework........................................................................................ 9
                  14
                                      1.      The ADA Does Not Require Private Entities To Acquire WAVs ............ 10
                  15                  2.      The ADA Does Not Require Private Entities To Provide
                                              “Equivalent Service” Except In Certain Circumstances That Do Not
                  16                          Apply To Lyft’s Rideshare Platform ........................................................ 11
                  17                  3.      The ADA Does Not Require Private Entities To Provide
                                              Specialized Goods Or Services For Use By Persons With
                  18                          Disabilities ................................................................................................ 12
                                      4.      The ADA Does Require Plaintiffs To Identify Specific Policies Or
                  19                          Practices They Claim Are Causing Them Harm ....................................... 13
                  20             B.   By Failing To Identify Any Specific Policy Or Procedure To Be Modified,
                                      Named Plaintiffs Have Failed To Establish Standing ........................................... 14
                  21             C.   Plaintiffs Have Failed To Demonstrate That Common Issues Will Drive
                                      This Litigation ....................................................................................................... 17
                  22
                                 D.   Plaintiffs Have Not Shown Their Claims Are Typical Of The Claims Of
                  23                  Absent Class Members .......................................................................................... 19
                                 E.   Plaintiffs Fail To Meet The Requirements Of Rule 23(b)(2) ................................ 20
                  24
                                 F.   Plaintiffs Fail To Satisfy The Requirement Of Numerosity ................................. 21
                  25      IV.    CONCLUSION ................................................................................................................. 24
                  26

                  27

                  28
F OLGER L EVIN   LLP                                                                                             DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                                          -i-             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                                            CASE NO. 3:19-CV-01438-WHA
                            Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 3 of 29



                      1                                                      TABLE OF AUTHORITIES
                      2                                                                                                                                            Page(s)
                      3   Cases
                          Am. Council of the Blind v. Astrue
                      4           No. C-05-04694-WHA, 2008 U.S. Dist. LEXIS 123376 (N.D. Cal. September 11, 2008)
                                  ............................................................................................................................................ 14
                      5
                          Arizona ex rel. Goddard v. Harkins Amusement Enterprises, Inc.
                      6           603 F.3d 666 (9th Cir. 2010).......................................................................................... 1, 12
                          Armstrong v. Davis
                      7           275 F.3d 849 (9th Cir. 2001).................................................................................. 15, 16, 20
                      8   Atencio v. United States Postal Serv.
                                  198 F. Supp. 3d 340 (S.D.N.Y. 2016) ................................................................................ 19
                      9   B.K. v. Snyder
                                  922 F.3d 957 (9th Cir. 2019)........................................................................ 9, 14, 15, 16, 20
                  10
                          Castaneda v. Burger King Corp.
                  11              264 F.R.D. 557 (N.D. Cal. 2009) ....................................................................................... 21
                          Celano v. Marriott Int’l, Inc.
                  12              242 F.R.D. 544 (N.D. Cal. 2007) ................................................................................. 22, 23
                  13      Chapman v. Pier 1 Imports Inc.
                                  631 F.3d 939 (9th Cir. 2011)........................................................................................ 15, 16
                  14      Civil Rights Educ. & Enf’t Ctr. v. Hosp. Props. Tr. (“CREEC”)
                                  867 F.3d 1093 (9th Cir. 2017)...................................................................................... 18, 21
                  15
                          Davis v. Astrue
                  16              250 F.R.D. 476 (N.D. Cal. 2008) ....................................................................................... 22
                          DL v. District of Columbia
                  17              713 F.3d 120 (D.C. Cir. 2013) ........................................................................................... 18
                  18      Doe v. Mut. Of Omaha Ins. Co.
                                  179 F.3d 557 (7th Cir. 1999).............................................................................................. 12
                  19      Evans v. Linden Research, Inc.
                                  No. C 11-01078 DMR, 2012 U.S. Dist. LEXIS 166006 (N.D. Cal. Nov. 20, 2012) ......... 15
                  20
                          Fortyune v. American Multi-Cinema, Inc.
                  21              364 F. 3d 1075 (9th Cir. 2004)................................................................................. 2, 14, 17
                          Friends of the Earth, Inc. v. Laidlaw Environmental Services, Inc.
                  22              528 U.S. 167 (2000) ........................................................................................................... 15
                  23      Greenn v. Borg-Warner Protective Servs. Corp.
                                  95 Civ. 10419 (RPP), 1998 U.S. Dist. LEXIS 292 (S.D.N.Y. Jan. 15, 1998) ................... 23
                  24      Hanon v. Dataproducts Corp.
                                  976 F.2d 497 (9th Cir. 1992).............................................................................................. 19
                  25
                          Jeffries v. Pension Trust Fund
                  26              172 F. Supp. 2d 389 (S.D.N.Y. 2001) ................................................................................ 23
                          La Duke v. Nelson
                  27              762 F.2d 1318 (9th Cir. 1985)............................................................................................ 17
                  28
F OLGER L EVIN   LLP                                                                                                       DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                                                   -ii-             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                                                      CASE NO. 3:19-CV-01438-WHA
                            Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 4 of 29



                      1                                                      TABLE OF AUTHORITIES
                                                                                   (continued)
                      2                                                                                                                                            Page(s)
                      3   LeGrand v. N.Y.C. Transit Auth.
                                  95-CV-0333 (JG), 1999 U.S. Dist. LEXIS 8020 (E.D.N.Y. May 26,1999) ...................... 23
                      4   Lewis v. Casey
                                  518 U.S. 343 (1996) ........................................................................................................... 15
                      5
                          Los Angeles v. Lyons
                      6           461 U.S. 95 (1983) ............................................................................................................. 15
                          Maldonado v. Ochsner Clinic Found.
                      7           493 F.3d 521 (5th Cir. 2007).............................................................................................. 21
                      8   Marcus v. BMW of N. Am., LLC
                                  687 F.3d 583 (3d Cir. 2012) ............................................................................................... 23
                      9   Namisnak v. Uber Techs.
                                  No. 17-CV-060124-RS, 2018 U.S. Dist. LEXIS 221054 (N.D. Cal. Oct. 3, 2018)........... 10
                  10
                          Nelsen v. King Cnty.
                  11              895 F.2d 1248 (9th Cir. 1990)............................................................................................ 15
                          Noel v. New York City Taxi and Limousine Comm’n
                  12              687 F.3d 63 (2d Cir. 2012) ................................................................................................. 11
                  13      Nordstrom v. Ryan
                                  762 F.3d 903 (9th Cir. 2011).............................................................................................. 18
                  14      O’Byrne v. Reed
                                  No. CV 09-08406 DMG (DTBx), 2010 U.S. Dist. LEXIS 153617 (C.D. Cal. Feb. 5, 2010)
                  15              ............................................................................................................................................ 19
                  16      Parsons v. Ryan
                                  754 F.3d 657 (9th Cir. 2014)........................................................................ 1, 17, 18, 19, 20
                  17      Pickern v. Holiday Quality Foods
                                  293 F.3d 1133 (9th Cir. 2002)............................................................................................ 16
                  18
                          Prado-Steiman v. Bush
                  19              221 F.3d 1266 (11th Cir. 2000).......................................................................................... 15
                          San Diego Gun Rights Comm. v. Reno
                  20              98 F.3d 1121 (9th Cir. 1996).............................................................................................. 15
                  21      Schulz v. Bay Area Motivate, LLC
                                  No. 19-cv-02134-MMC, 2019 U.S. Dist. LEXIS 209256 (N.D. Cal. 2019) ..................... 12
                  22      Schwartz v. Upper Deck Co.
                                  183 F.R.D. 672 (S.D. Cal. 1999)........................................................................................ 23
                  23
                          Shields v. Walt Disney Parks & Resorts US, Inc.
                  24              279 F.R.D. 529 (C.D. Cal. 2011) ....................................................................................... 14
                          Stevens v. Harper
                  25              213 F.R.D. 358 (E.D. Cal. 2002) ................................................................................. 15, 16
                  26      Stockwell v. City & Cty. of San Francisco
                                  749 F.3d 1107 (9th Cir. 2014)............................................................................................ 17
                  27      Toomer v. City Cab
                                  443 F.3d 1191 (10th Cir. 2006).................................................................................. 2, 9, 10
                  28
F OLGER L EVIN   LLP                                                                                                       DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                                                  -iii-             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                                                      CASE NO. 3:19-CV-01438-WHA
                            Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 5 of 29



                      1                                                    TABLE OF AUTHORITIES
                                                                                 (continued)
                      2                                                                                                                                      Page(s)
                      3   Vega v. T-Mobile USA, Inc.
                                 564 F.3d 1256 (11th Cir. 2009).......................................................................................... 23
                      4   Wal-Mart Stores, Inc. v. Dukes
                                 564 U.S. 338 (2011) ........................................................................................... 2, 14, 20, 24
                      5
                          Weyer v. Twentieth Century Fox Film Corp.
                      6          198 F.3d 1104 (9th Cir. 2000).................................................................................. 9, 10, 12
                          Statutes and Regulations
                      7
                          42 U.S.C. § 12181 .......................................................................................................................... 10
                      8   42 U.S.C. § 12182 .............................................................................................................. 10, 11, 13
                      9   42 U.S.C. § 12183 .......................................................................................................................... 13
                          42 U.S.C. § 12184 ................................................................................................................ 2, 10, 11
                  10
                          42 U.S.C. § 12185 .......................................................................................................................... 10
                  11      42 U.S.C. § 12186 .......................................................................................................................... 10
                  12      28 C.F.R. § 36.307 ......................................................................................................................... 12
                          28 C.F.R. § 36.303 ......................................................................................................................... 13
                  13
                          28 C.F.R. Part 36, Appendix C ................................................................................................ 13, 18
                  14      49 C.F.R. § 37.29 ........................................................................................................................... 10
                  15      49 C.F.R. § 37.5 ............................................................................................................................. 10
                          49 C.F.R. § 37.103 ......................................................................................................................... 11
                  16
                          49 C.F.R. § 37.105 ......................................................................................................................... 11
                  17      49 C.F.R. § 37.171 ......................................................................................................................... 11
                  18      49 C.F.R. Part 37, Appendix E ...................................................................................................... 18
                          Cal. Pub. Util. Code § 5440 ......................................................................................................... 4, 6
                  19
                          Other Authorities
                  20      Decision On Track 1 Issues: Transportation Network Company Trip Fee And Geographic Areas,
                                 Cal. Pub. Util. Comm. Rulemaking 19-02-012 (June 27, 2019).......................................... 6
                  21
                          New York City Taxi and Limousine Commission Rule Book § 59B-17 ........................................ 5
                  22

                  23

                  24

                  25

                  26

                  27

                  28
F OLGER L EVIN   LLP                                                                                                   DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                                               -iv-             PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                                                  CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 6 of 29



                      1                                        I.      INTRODUCTION

                      2          Defendant Lyft, Inc. (“Lyft”) operates a technology-powered ridesharing platform that

                      3   makes millions of connections between riders and drivers each day. Lyft does not own any of the

                      4   vehicles that are used on its ridesharing platform or tell the drivers when and where to drive.

                      5   Instead, the drivers bring their own personal vehicles, set their own hours, and decide where they

                      6   will give rides on any given day.

                      7          Frustrated by decades of failure by public and private entities to offer reliable

                      8   transportation options to individuals with disabilities, Plaintiffs want Lyft to fill this void and

                      9   offer wheelchair assessible vehicles (“WAVs”) on its platform.

                  10             But the Motion for Class Certification Plaintiffs filed has a fatal flaw: it does not identify

                  11      any legal violation underlying their claim. In typical class actions brought under the Americans

                  12      with Disabilities Act (“ADA”), the plaintiffs, in their motion for class certification, do not hesitate

                  13      to identify the conduct they claim to be at the heart of their lawsuit. A plaintiff may thus allege

                  14      that a restaurant violated building codes by failing to provide an accessible entrance or restroom,

                  15      or that a government agency failed to offer auxiliary aids and services by not providing important

                  16      benefit information in accessible formats to individuals with vision impairments. The plaintiffs do

                  17      not hesitate to identify the specific ADA violation at the heart of their case, because they know

                  18      without it, the court, in making its certification determination, cannot assess whether the harms

                  19      allegedly suffered by the putative class are tethered to the claims being asserted by the named

                  20      plaintiffs. See, e.g., Parsons v. Ryan, 754 F.3d 657, 678-9 (9th Cir. 2014).

                  21             Here, the lack of WAV service on Lyft’s platform is not a violation of the ADA. Nothing

                  22      in the ADA states that Lyft must modify its service or create a new service to accommodate

                  23      individuals who use wheelchairs. The law is clear that the ADA does not dictate the content of the

                  24      goods or services provided by a private entity. See, e.g., Arizona ex rel. Goddard v. Harkins

                  25      Amusement Enterprises, Inc., 603 F.3d 666, 671 (9th Cir. 2010). Just as a bookstore does not

                  26      have to carry Braille books, Lyft is free to operate its innovative ridesharing platform in the

                  27      manner it was designed and conceived. The outcome does not change under the transportation

                  28      provisions of ADA Title III: nothing in the statute or regulations requires a private entity, no
F OLGER L EVIN   LLP                                                                           DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                            -1-         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                          CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 7 of 29



                      1   matter how successful, to bear the massive cost of on-demand WAV service. See, e.g., Toomer v.

                      2   City Cab, 443 F.3d 1191, 1195 (10th Cir. 2006).

                      3          What the ADA does require is for Plaintiffs to identify the allegedly discriminatory policy

                      4   or practice at issue, and identify how Lyft could have modified such policy or practice to prevent

                      5   the discrimination from occurring. Fortyune v. American Multi-Cinema, Inc., 364 F. 3d 1075,

                      6   1083 (9th Cir. 2004). The failure to reasonably modify a policy or practice is at the heart of the

                      7   discrimination claim that Plaintiffs have set forth in their pleading (Compl. ¶¶ 83, 84, 96, 101),

                      8   and Plaintiffs must, in some fashion, demonstrate the nature of the legal violation they claim

                      9   resulted in the lack of WAV service. See, e.g., Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 352

                  10      (2011) (proof of commonality may overlap with merits contention that defendant engages in a

                  11      pattern or practice of discrimination).

                  12             Plaintiffs have done none of these things, and this is the fatal flaw underlying their Motion

                  13      for Class Certification. The legal framework of the ADA does not permit Plaintiffs’ simplistic

                  14      theory that the failure to provide WAV service constitutes discrimination for which they are

                  15      entitled to seek the remedy of an “equivalent” WAV program. See 42 U.S.C. § 12184(b)(3).

                  16      Unless they are able to identify the policy or practice they claim resulted in the alleged shortage

                  17      of WAVs on the platform, this Court has no basis for concluding that Plaintiffs were harmed, or

                  18      that Plaintiffs have complied with Rule 23 by satisfying the elements of numerosity,

                  19      commonality, typicality, or the uniform injunction standard of Rule 23(b)(2).

                  20             Plaintiffs failed to satisfy the elements of Rule 23. The Motion should be denied.

                  21                                     II.    FACTUAL BACKGROUND
                  22             A.      Lyft’s Business.
                  23             Lyft operates a peer-to-peer marketplace for on-demand ridesharing through its popular

                  24      mobile application (“app”). Declaration of Andrés Muñoz (“Muñoz Decl.”) ¶ 2. Through the app,

                  25      individual riders are connected to drivers who have elected to drive on the platform. Id.

                  26             All individuals – both drivers and riders – who participate in Lyft’s platform must agree to

                  27      the Lyft Terms of Service (“TOS”), which sets forth the general terms for use of the platform.

                  28      Muñoz Decl. ¶ 3. The TOS includes an arbitration provision by which the majority of all legal
F OLGER L EVIN   LLP                                                                         DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -2-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                        CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 8 of 29



                      1   claims against Lyft by drivers and riders are subject to binding arbitration. Id.

                      2          B.      Driving On The Lyft Platform.
                      3          Lyft does not own, lease, or rent any of the vehicles used for ridesharing on the Lyft

                      4   platform. Instead, drivers who wish to drive on the Lyft platform bring their own personal

                      5   vehicles or rent vehicles from third party providers through Lyft’s Express Drive Program.

                      6   Muñoz Decl. ¶ 5.

                      7          Different types of vehicles qualify for different “Modes” in the app, which in turn

                      8   correspond with different price points. Id. Generally, any driver with a vehicle with four or more

                      9   passenger seats may provide rides in the most affordable “Standard” or “Shared” Modes. Drivers

                  10      who bring a luxury or large vehicle onto the platform may qualify to provide rides in “Lux” or

                  11      “XL” Modes, with corresponding higher price points. Id. ¶ 6. Lyft typically does not recruit

                  12      drivers by the type of car they drive or by Mode. Id. ¶ 8. Lyft also does not set the hours of work

                  13      for any driver, nor does it tell drivers where to drive or for how long. Id. ¶ 9.

                  14             What Lyft does do is deploy certain monetary incentives in an effort to influence driver

                  15      behavior. Id. One example of such an incentive is “Ride Challenge,” which rewards drivers if

                  16      they complete a certain number of rides within a set amount of time. Id. Another is “Personal

                  17      Power Zones,” which offers drivers monetary incentives so that they will offer rides in a “high-

                  18      demand” area. Id. But no driver is required to accept any form of incentive. Rather, drivers are

                  19      free to make their own decisions as to when and where they wish to drive. Id.

                  20             C.      Riding On The Lyft Platform.
                  21             Riders who use Lyft in San Francisco, Alameda, and Contra Costa Counties (the “Bay

                  22      Area Counties”) are generally able to select from different Modes, such as “Standard,” “Shared,”

                  23      “Lux,” or “XL.” But not all modes are available in all areas at all times. Id. ¶ 8. Critically, the

                  24      availability and response time for any Mode of service in a given area is a direct function of

                  25      dynamic supply and demand. Muñoz Decl. ¶ 10. Lyft does not and cannot control how many

                  26      drivers sign up to drive with a particular vehicle in a particular area, or how many passengers

                  27      request a particular ride type in a particular area. This leads to different wait times and mode

                  28      availability in different areas. For example, the average estimated time of arrival in San Francisco
F OLGER L EVIN   LLP                                                                           DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                            -3-         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                          CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 9 of 29



                      1   is likely to be shorter than the average estimated time of arrival in most areas of Alameda and

                      2   Contra Costa Counties. Id. ¶ 12. The ability to request “Lux” or “XL,” or even “Shared,” service

                      3   depends on driver availability in that geographic area. In contrast to San Francisco County (46.87

                      4   square miles in size, with a population of 17,179 per square mile), Alameda and Contra Costa

                      5   Counties cover land areas of 739 square miles (2,043 people per square mile) and 761 square

                      6   miles (1,465 people per square mile), respectively, and the geographic areas covered include

                      7   urban, suburban, and rural areas. 1 Especially in less densely populated or remote areas of

                      8   Alameda or Contra Costa Counties, riders may not be able to select a certain Mode of their choice

                      9   and/or may face a lengthy wait for the ride, depending on the time of day or the supply of drivers

                  10      in the area at any given time. Muñoz Decl. ¶ 10.

                  11             D.      Wheelchair Accessible Vehicles (WAVs).
                  12             WAVs are typically vans or minivans that have been specially modified for wheelchairs

                  13      and adapted with special equipment, including a ramp or lift for the wheelchair that can be folded

                  14      inside the vehicle or removed when it is not in use, a lowered floor to accommodate the

                  15      equipment, and a securement device to keep the wheelchair in place when the vehicle is in

                  16      motion. See e.g., Ayres Depo. [Ex. 1] at 34:15-35:11; Finn Depo. [Ex. 7] at 30:4-6; Giacopini

                  17      Depo. [Ex. 2] at 25:10-21; Hinze Depo. [Ex. 8] at 19:13-19. 2 WAVs are expensive, and they are

                  18      not readily available for purchase. They are typically specially-manufactured or adapted vehicles,

                  19      and new WAVs can cost over $50,000 per vehicle. See, e.g., Ayres Depo. [Ex. 1] at 40:14-18;

                  20      Finn Depo. [Ex. 7] at 28:1-4, 29:23-30:1. Because they are larger and heavier vehicles, WAVs

                  21      cost more to operate. For example, insurance and fuel costs are higher for WAVs than regular

                  22      vehicles. See Cal. Pub. Util. Code § 5440(f) (describing the high costs of operation and

                  23      maintenance of WAVs).

                  24
                                 1
                                    See U.S. Census QuickFacts: Contra Costa County, California; Alameda County,
                  25      California; San Francisco County, California, available at: https://www.census.gov/quickfacts/
                          fact/table/contracostacountycalifornia,alamedacountycalifornia,sanfranciscocountycalifornia/PST
                  26      045218.
                  27
                                  2
                                    All deposition testimony excerpts cited in this brief are attached to the Declaration of
                          Jiyun Cameron Lee in Support of Lyft’s Opposition to Plaintiffs’ Motion for Class Certification
                  28      as Exhibits 1 to 8.
F OLGER L EVIN   LLP                                                                         DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                          -4-         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                        CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 10 of 29



                      1          Lyft does not know how many WAVs are out on the road, and neither do Plaintiffs. With

                      2   very rare exceptions, the only individuals who own a personal WAV are those with disabilities or

                      3   family members of those with disabilities. See Ayres Depo. [Ex. 1] at 45:25-46:3; Bittner Depo.

                      4   [Ex. 3] at 38:6-9; Finn Depo. [Ex. 7] at 33:15-34:6; Giacopini Depo. [Ex. 2] at 38:21-39:8; Hinze

                      5   Depo. [Ex. 8] at 26:12-16; Smith Depo. [Ex. 5] at 21:14-19. While the exact number of WAVs is

                      6   not known, Ms. Hinze, whose role at organizational plaintiff Independent Living Resource Center

                      7   San Francisco (“ILRC”) includes transportation advocacy, has discussed with colleagues “how

                      8   few [WAVs] there are in the community.” Hinze Depo. [Ex. 8] at 28:8-9, 30:19. Plaintiffs also

                      9   have no reliable evidence of how many WAV owners may want to drive on the Lyft platform.

                  10      Plaintiffs could only identify just three people who ever expressed an interest in driving a WAV

                  11      for a ridesharing platform such as Lyft or Uber, and just one with any concrete intention (a person

                  12      who already drives for Uber). Ayres Depo. [Ex. 1] at 47:15-48:8; Bittner Depo. [Ex. 3] at 41:3-

                  13      42:6; Finn Depo. [Ex. 7] at 37:25-38:2; Fuller Depo. [Ex. 6] at 30:19-21; Giacopini Depo. [Ex. 2]

                  14      at 40:21-41:25; Hinze Depo. [Ex. 8] at 27:17-19; Nieves Depo. [Ex. 4] at 23:1-24:6; Smith Depo.

                  15      [Ex. 5] at 23:14-17.

                  16             E.      State And Local Requirements Regarding WAVs.
                  17             In recent years, several State and local jurisdictions have enacted laws or regulations

                  18      aimed at increasing the availability of WAVs on ridesharing platforms. Two such jurisdictions are

                  19      New York City and the State of California.

                  20                     1.      New York City.
                  21             In New York City, the Taxi and Limousine Commission (“TLC”) issued regulations

                  22      requiring Lyft, Uber, and other ridesharing companies (referred to as “High Volume For-Hire

                  23      Services” in New York City) to offer WAV service. Among the TLC’s requirements was that by

                  24      June 2019, 60% of all WAV requests within the five boroughs (comprising total land area of

                  25      approximately 302 square miles) must be met in less than 15 minutes. See New York City Taxi

                  26      and Limousine Commission Rule Book § 59B-17(f)(3).

                  27             In order to comply with the TLC’s mandate, Lyft entered into a number of contracts with

                  28      third party companies who own WAVs. Pursuant to these contracts, the third party companies
F OLGER L EVIN   LLP                                                                        DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                          -5-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                       CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 11 of 29



                      1   provided the WAVs and drivers to be deployed on Lyft’s platform. The cost to Lyft of this

                      2   program is millions of dollars annually. Muñoz Decl. ¶ 18.

                      3                  2.     California.
                      4          In California, Lyft and Uber are categorized as transportation network companies

                      5   (“TNCs”) and regulated by the California Public Utilities Commission (“CPUC”). In 2018, the

                      6   California Legislature passed SB 1376, the TNC Access For All Act (the “TNC Act”), with the

                      7   support of TNCs, including Lyft and Uber. As the Legislature acknowledged in enacting the TNC

                      8   Act, making WAVs available on TNC platforms is made difficult by the high cost of WAVs,

                      9   among other reasons. Cal. Pub. Util. Code § 5440(f).

                  10             The TNC Act mandated the creation of the “TNC Access for All Fund” (“Access Fund”),

                  11      which is funded by a 10-cent surcharge on every completed TNC trip originating in California.

                  12      Lyft, Uber and other TNCs are responsible for collecting the surcharge and remitting it to the

                  13      Access Fund. See Decision On Track 1 Issues: Transportation Network Company Trip Fee And

                  14      Geographic Areas, Cal. Pub. Util. Comm. Rulemaking 19-02-012 (June 27, 2019), available at:

                  15      http://docs.cpuc.ca.gov/PublishedDocs/Published/G000/M309/K524/309524812.PDF.

                  16             Rulemaking by the CPUC under the TNC Act is ongoing. Among the issues yet to be

                  17      decided by the CPUC is the criteria by which Lyft and other TNCs may offset their required

                  18      contribution to the Access Fund with amounts spent on providing WAV service.

                  19             F.      Lyft’s SF WAV Pilot.
                  20             In July 2019, Lyft launched a WAV Pilot in San Francisco (“SF WAV Pilot”). 3 Muñoz

                  21      Decl. ¶ 16. The WAVs used in the SF WAV Pilot are five dedicated vehicles operated by First

                  22      Transit, a third party transportation company. Id. Dedicated WAVs mean that these vehicles are

                  23      reserved for the sole and exclusive use of wheelchair passengers. First Transit employs and trains

                  24      all the drivers who drive the WAVs in the SF WAV Pilot. Id. WAV vehicles are owned by First

                  25      Transit and available on the Lyft platform from 7 a.m. until midnight, seven days a week, for

                  26      rides originating in San Francisco County and San Francisco International Airport only. Id.

                  27             3
                                   Lyft launched a similar WAV pilot program in Los Angeles for rides originating and
                  28      ending in Los Angeles County.
F OLGER L EVIN   LLP                                                                        DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                          -6-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                       CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 12 of 29



                      1          The annualized cost to Lyft of the SF WAV Pilot is approximately $1.5 million. Id. Since

                      2   the pilot launched, the weekly ridership has not increased, averaging just 18 rides per week. The

                      3   average cost to Lyft of providing each ride is approximately $1,460. Id. ¶ 17. Each of the riders in

                      4   the pilot has accepted Lyft’s TOS, including the arbitration provision, and thus would not be a

                      5   putative class member.

                      6          G.      Plaintiffs Have Not Tried The SF WAV Pilot.
                      7          None of the four individual Plaintiffs here, including Sascha Bittner, who lives in San

                      8   Francisco, has tried Lyft’s SF WAV Pilot. Ayres Depo. [Ex. 1] at 63:8-17; Bittner Depo. [Ex. 3]

                      9   at 51:12-14; Fuller Depo. [Ex. 6] at 35:11-36:1; Smith Depo. [Ex. 5] at 28:18-25. None of the

                  10      four individual Plaintiffs or the four officers or directors of the two organizational Plaintiffs

                  11      deposed in connection with this Motion had much information regarding the SF WAV Pilot.

                  12      None of these eight individuals has spoken with anyone who tried the SF WAV Pilot. One

                  13      person, Ms. Hinze, did speak with someone whose friend tried the pilot and was able to get a

                  14      WAV vehicle in eight minutes. Hinze Depo. [Ex. 8] at 37:9-23. Another person, Ms. Bittner, saw

                  15      a social media post about an individual who tried the pilot whose ride was delayed (by how much

                  16      it was not clear), but has also heard that the average wait is under 30 minutes. Bittner Depo. [Ex.

                  17      3] at 46:12-47:5, 51:21-52:1. Although Plaintiffs variously asserted that five vehicles are not

                  18      enough for the SF WAV Pilot, they had no specific knowledge about why that could be so. Ayres

                  19      Depo. [Ex. 1] at 64:5-10; Bittner Depo. [Ex. 3] at 51:12-53:6; Finn Depo. [Ex. 7] at 49:10-21;

                  20      Hinze Depo. [Ex. 8] at 41:17-42:12; Smith Depo. [Ex. 5] at 29:9-19.

                  21             When asked, the deponents who use WAVs identified a number of different reasons for

                  22      why they personally had not tried the SF WAV Pilot. Plaintiff Tara Ayres, a regular visitor to San

                  23      Francisco, said she had not downloaded the Lyft app or tried the SF WAV Pilot because the

                  24      WAV pilot was not available in the East Bay, and because she understood downloading the Lyft

                  25      app would interfere with her ability to continue being a plaintiff in this litigation. Ayres Depo.

                  26      [Ex. 1] at 64:22-65:11. Plaintiff Sascha Bittner does not own a smartphone. Bittner Depo. [Ex. 3]

                  27      at 38:10-11. Even though she lives in San Francisco, she has no plan to try Lyft’s WAV service

                  28      until Lyft offers 24-hour service, with 15-minute response times for WAV users. Id. at 51:16-20,
F OLGER L EVIN   LLP                                                                           DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                            -7-         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                          CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 13 of 29



                      1   57:8-11. Plaintiff Judith Smith, another regular visitor of San Francisco, likewise has not tried

                      2   Lyft’s SF WAV Pilot, and would not until it offered 15-20 minute response times – the test for

                      3   what she considers “reliable.” Smith Depo. [Ex. 5] at 29:20-23. Plaintiff Julie Fuller is somewhat

                      4   differently situated than the other individual plaintiffs in that she is able to walk short distances

                      5   and regularly uses standard, non-WAV, vehicles. Fuller Depo. [Ex. 6] at 27:7-17. Ms. Fuller is

                      6   not sure she would use Lyft’s services at all unless Lyft agreed the car would be “scent-free.” Id.

                      7   at 28:12-29:10. One of the reasons she has not tried Lyft is because she understands it would

                      8   interfere with her ability to continue this litigation. Id.at 43:1-11. Dorene Giacopini, President of

                      9   the Board of Directors of organizational plaintiff Community Resources for Independent Living

                  10      (“CRIL”), has not tried the SF WAV Pilot because she uses Uber and is familiar with Uber’s

                  11      service. Giacopini Depo. [Ex. 2] at 75:24-76:3. Chris Finn, a member of the Board of Directors of

                  12      CRIL, rarely travels with his smartphone, and is not sure he could use the Lyft app. Finn Depo.

                  13      [Ex. 7] at 35:23-36:14, 37:13-24, 49:22-50:8. Many “variables,” such as cost, would influence

                  14      whether he would download and use Lyft. Id. at 49:22-50:8, 55:7-12. Fiona Hinze, Director of

                  15      System Change at ILRC, has also not tried Lyft’s SF WAV Pilot despite living and working in

                  16      San Francisco. Hinze Depo. [Ex. 8] at 38:17. Ms. Hinze testified she would use Lyft’s service

                  17      only when it offered “equivalent service,” meaning the same response time as service by a non-

                  18      WAV vehicle at a specific time in a specific area. Id. at 38:19-24, 40:6-10, 43:22-44:18.

                  19             H.      Lyft’s Plan For A New Three-County Pilot.
                  20             Lyft is investigating potential paths to see if it can reduce the staggering cost of WAVs.

                  21      Muñoz Decl. ¶ 19. To that end, Lyft intends to launch a new pilot in the first quarter of 2020 in

                  22      Alameda, Contra Costa, and San Francisco Counties (the “Three-County Pilot”). Id. For this pilot,

                  23      a third party rental company would offer up to 65 WAVs for rental to interested Lyft drivers to

                  24      provide WAV rides in the three Bay Area Counties. Id. Lyft plans to heavily subsidize the rental

                  25      cost of these vehicles so that interested drivers can rent them at the same rate as if they were

                  26      renting a Toyota Corolla or Prius that could be used in the “Standard” Mode. Id. at ¶ 20.

                  27             Whether the Three-County Pilot will succeed is not known. The success of the program

                  28      will depend, in large part, on whether there is sufficient interest in the community of drivers to
F OLGER L EVIN   LLP                                                                           DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                            -8-         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                          CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 14 of 29



                      1   rent WAVs and drive them on the Lyft platform, and whether the supply of interested drivers can

                      2   be maintained over the long-term. Id.

                      3                                           III.   ARGUMENT
                      4          A.      The Premise Of Plaintiffs’ Motion And Class Definition – That Lyft
                                         Discriminates By Failing To Provide WAV Service – Is Contrary To The
                      5                  ADA’s Legal Framework.
                      6          Central to the Court’s consideration of Plaintiffs’ Motion is the legal framework of the

                      7   ADA, the statute underlying Plaintiffs’ claim. See B.K. v. Snyder, 922 F.3d 957, 975-76 (9th Cir.

                      8   2019) (vacating certification of the Medicaid subclass because it was based on a misconception of

                      9   the applicable legal framework).

                  10             The basic premise underlying Plaintiffs’ Motion is that the ADA requires Lyft to provide

                  11      “equivalent access” to its on-demand service to individuals who need WAVs. See, e.g., Motion at

                  12      1:3-8. Plaintiffs’ theory is that Lyft discriminates by failing to provide WAV service on an

                  13      equivalent basis as it provides its standard ridesharing service. Plaintiffs frame their proposed

                  14      class definition to encompass a class of individuals in the Bay Area Counties who are allegedly

                  15      “deterred from using Lyft’s transportation service due to Lyft’s failure to provide equivalent

                  16      transportation services for WAV users.” Id. at 14:20-21.

                  17             The problem with Plaintiffs’ theory of discrimination is that nothing in the ADA states a

                  18      private entity violates the law unless it offers its goods or services on an equivalent basis to

                  19      individuals with disabilities. To the contrary, the law is the exact opposite: the ADA specifically

                  20      exempts private entities from having to acquire WAVs for its transportation service, see, e.g.,

                  21      Toomer, 443 F.3d at 1195, and further states that no private entity is required to provide

                  22      specialized goods or services to individuals with disabilities, see, e.g., Weyer v. Twentieth

                  23      Century Fox Film Corp., 198 F.3d 1104, 1115 (9th Cir. 2000).

                  24             More specifically, as discussed below, Plaintiffs’ theory of discrimination as presented in

                  25      their Motion is contrary to the legal framework of the ADA in at least four ways: (1) the ADA

                  26      does not require private entities to acquire WAVs; (2) the ADA does not require private entities

                  27      to provide “equivalent service”; (3) the ADA does not regulate the content of goods or services

                  28      offered by a private entity, but; (4) the ADA does require Plaintiffs to identify the allegedly
F OLGER L EVIN   LLP                                                                          DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                            -9-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                         CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 15 of 29



                      1   discriminatory “policy or practice” for purposes of class certification.

                      2                  1.      The ADA Does Not Require Private Entities To Acquire WAVs.
                      3          Title III of the ADA applies to a private entity that is engaged in providing “specified

                      4   public transportation services” or operates a place of public accommodation. 4 See 42 U.S.C.

                      5   §§ 12181, et seq. Sections 12184-12186 of Title III apply to transportation service providers, and

                      6   Sections 12182-12183 apply to public accommodations.

                      7          The provisions of Title III that apply to transportation service providers make clear that

                      8   when private entities acquire vehicles, they need not acquire WAVs except in limited

                      9   circumstances. See 42 U.S.C. § 12184(b)(3)-(7). Notably, the acquisition of a new automobile

                  10      (e.g., passenger sedans) or a van with seating capacity of less than 8 passengers for use in a

                  11      “demand responsive” system (e.g., a taxi service) specifically does not trigger the duty to

                  12      purchase a WAV. Id. § 12184(b)(3).

                  13             The Department of Transportation (“DOT”), which Congress entrusted to issue

                  14      regulations to carry out the goals of the ADA (id. § 12186(a)(1)), confirmed Congress’s intent as

                  15      follows: “Under the ADA, no private entity is required to purchase an accessible automobile.” 49

                  16      C.F.R. Pt. 37, App’x D (emphasis added). “Discrimination” occurs not when an entity fails to

                  17      provide accessible service, but when an entity denies an individual with a disability “the

                  18      opportunity to use the entity’s transportation service for the general public, if the individual is

                  19      capable of using that service.” 49 C.F.R. § 37.5(b) (emphasis added); see also 49 C.F.R.

                  20      § 37.29(b) (“Providers of taxi service are not required to purchase or lease accessible

                  21      automobiles.”). Courts have affirmed Congress’s intent, holding that “a taxi fleet consisting

                  22      entirely of non-accessible vehicles would be in accord with the ADA.” Toomer, 443 F.3d at 1195;

                  23      accord Noel v. New York City Taxi and Limousine Comm’n, 687 F.3d 63, 72 (2d Cir. 2012).

                  24             4
                                   While Lyft does not concede the issue, if Title III applies here, it applies because Lyft
                  25      provides “specified public transportation services” under the statute. Lyft denies it is a public
                          accommodation because it does not fit the definition of “public accommodation,” which is limited
                  26      to “actual, physical places” under binding Ninth Circuit precedent. Weyer, 198 F.3d at 1114; see
                          also Namisnak v. Uber Techs., No. 17-CV-060124-RS, 2018 U.S. Dist. LEXIS 221054, at *10
                  27
                          (N.D. Cal. Oct. 3, 2018) (finding that Uber’s transportation service is not a place of public
                  28      accommodation under the ADA).
F OLGER L EVIN   LLP                                                                          DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -10-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                         CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 16 of 29



                      1            Nothing in the statute, the regulations, or case law interpreting the ADA requires a private

                      2   entity to purchase or lease WAVs in order to comply with the ADA.

                      3                   2.      The ADA Does Not Require Private Entities To Provide “Equivalent
                                                  Service” Except In Certain Circumstances That Do Not Apply To
                      4                           Lyft’s Rideshare Platform.
                      5            Title III of the ADA also contradicts the second premise underlying Plaintiffs’ Motion and

                      6   proposed class definition, which is that Lyft must provide “equivalent transportation service.”

                      7            As a preliminary matter, the phrase “equivalent transportation service” may mean

                      8   different things to different people, including, potentially, to members of the putative class. See

                      9   infra Part II.G. Despite the prominence of the notion of “equivalent service” in their class

                  10      definition, Plaintiffs make no effort to explain what they mean, even though it is their burden to

                  11      do so.

                  12               One possible reason why Plaintiffs do not define the phrase “equivalent service” may be

                  13      that the phrase has a special meaning under the ADA and is triggered in limited circumstances.

                  14      As set forth in DOT regulations, “equivalent service” means service made available to individuals

                  15      with disabilities on a basis that is on par with service that is provided to the general public when

                  16      measured by characteristics such as schedule, response time, geographic scope, hours of

                  17      operations, and fares. See 49 C.F.R. § 37.105.

                  18               For private entities who are primarily engaged in providing specified public transportation

                  19      services, the “equivalent service” standard is triggered if they acquire a vehicle that is not

                  20      accessible in situations when they are otherwise required to acquire a WAV. See 42 U.S.C.

                  21      § 12184(b)(3); 49 C.F.R. § 37.103(c). If, for example, a taxi company acquires a large vehicle

                  22      with seating capacity of 16, then the taxi company would have to purchase a WAV. If it elects not

                  23      to acquire a WAV, however, the taxi company would have to make sure that it was otherwise

                  24      compliant with the equivalent service standard. 49 C.F.R. §§ 37.29(b), 37.103(c) and (d). The

                  25      “equivalent service” standard can also be triggered when a public accommodation that is not

                  26      primarily engaged in providing specified public transportation services – such as a hotel – offers

                  27      complimentary shuttle service. In that situation, the hotel must ensure that the service they

                  28      provide offers “equivalent service” to their customers who require service by WAVs. See 42
F OLGER L EVIN   LLP                                                                          DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -11-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                         CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 17 of 29



                      1   U.S.C. §§ 12182(b)(2)(B) and (C); 49 C.F.R. § 37.171.

                      2           Here, Lyft does not own any of the vehicles that are driven on its platform. Because Lyft

                      3   does not acquire any vehicles, the “equivalent service” standard does not apply.

                      4                   3.      The ADA Does Not Require Private Entities To Provide Specialized
                                                  Goods Or Services For Use By Persons With Disabilities.
                      5

                      6           Just as Congress deemed it permissible for a private transportation provider to provide

                      7   services using non-WAV automobiles only, Congress also made it clear, in enacting the ADA,

                      8   that the statute would not require private entities to change the goods or services they offer.

                      9           As the Ninth Circuit explained, “Title III prohibits discrimination in the enjoyment of ‘the

                  10      goods, services, facilities, privileges, advantages, or accommodations of any place of public

                  11      accommodation.’” Weyer, 198 F.3d at 1115. This means “whatever goods or services the place

                  12      provides, it cannot discriminate on the basis of disability in providing enjoyment of those goods

                  13      and services.” Id. (emphasis added). Put another way, the ADA “does not require provision of

                  14      different goods or services, just nondiscriminatory enjoyment of those that are provided.” Id. For

                  15      example, “a bookstore cannot discriminate against disabled people in granting access, but need

                  16      not assure that the books are available in Braille as well as print. ‘[L]ikewise, an insurance office

                  17      must be physically accessible to the disabled but need not provide insurance that treats the

                  18      disabled equally with the non-disabled.’” Id. (citation omitted); see also Goddard, 603 F.3d at

                  19      671; Doe v. Mut. Of Omaha Ins. Co., 179 F.3d 557, 560 (7th Cir. 1999) (“The common sense of

                  20      the statute is that the content of the goods or services offered by a place of public accommodation

                  21      is not regulated.”); Schulz v. Bay Area Motivate, LLC, No. 19-cv-02134-MMC, 2019 U.S. Dist.

                  22      LEXIS 209256, *18-19 (N.D. Cal. 2019) (bikeshare program is not required to alter its inventory

                  23      to stock types of bicycles it does not presently offer for rent); 28 C.F.R. § 36.307 (no need to alter

                  24      inventory “to include accessible or special goods that are designed for, or facilitate use by,

                  25      individuals with disabilities.”).

                  26              The plain language of the statute, regulations, and decades of case law thus confirm that

                  27      under the ADA, there is nothing inherently unlawful about the fact that Lyft offers services that

                  28      are not accessible to individuals with disabilities to the same extent as individuals without
F OLGER L EVIN   LLP                                                                          DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -12-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                         CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 18 of 29



                      1   disabilities. After all, the foundation of Lyft’s business is supply and demand: a supply of drivers

                      2   who join the platform to meet the demand by riders. Nothing in the ADA requires Lyft to create a

                      3   new service or program by artificially creating or expanding the supply of WAVs and putting

                      4   them on the platform.

                      5
                                         4.       The ADA Does Require Plaintiffs To Identify Specific Policies Or
                      6                           Practices They Claim Are Causing Them Harm.

                      7          Since nothing in the ADA requires Lyft to provide equivalent service to WAV users, the

                      8   only way a proper class may be fashioned is by reference to the elements of the claim Plaintiffs

                      9   have pled under the ADA. The theory Plaintiffs have set forth in their pleading is that Lyft

                  10      discriminates by failing to adopt certain “reasonable modifications” to its “policies, practices, or

                  11      procedures.” Compl. ¶¶ 83, 84, 96, 101; Motion at 4:2-3, 6:15-16.

                  12             Sections 12182(b)(2)(A)(ii) and 12184(b)(2)(A) define “discrimination” to include:

                  13                     a failure to make reasonable modifications in policies, practices, or
                                         procedures, when such modifications are necessary to afford such
                  14                     goods, services, facilities, privileges, advantages, or
                                         accommodations to individuals with disabilities, unless the entity
                  15                     can demonstrate that making such modifications would
                                         fundamentally alter the nature of such goods, services, facilities,
                  16                     privileges, advantages, or accommodations.
                  17      42 U.S.C. § 12182(b)(2)(A)(ii) (emphasis added). 5

                  18             The elements of a claim of discrimination under Section 12182(b)(2)(A)(ii) are: (1) that

                  19      Plaintiffs are disabled; (2) Lyft is a private entity subject to the ADA; (3) Lyft employs a

                  20      discriminatory policy or practice; and (4) Lyft discriminated against Plaintiffs by (a) failing to

                  21      make a reasonable modification of the policy or practice that was (b) necessary to accommodate

                  22      the plaintiff's disability. Fortyune, 364 F. 3d at 1083 (citations omitted). The ADA thus demands

                  23
                                 5
                  24                In their Motion, Plaintiffs also reference 42 U.S.C. § 12182(b)(2)(A)(iii). See Mot. At
                          4:5. That subsection relates to the failure to offer auxiliary aids and services, which is not at issue
                  25      here. As the Department of Justice has made clear, “auxiliary aids and services are those aids and
                          services required to provide effective communications.” 28 C.F.R. Part 36, Appendix C (1991).
                  26      Section-by-Section Analysis at Section 36.303. WAVs most certainly do not fall in this category.
                          See also 28 C.F.R. § 36.303(b) (defining “auxiliary aids and services” to include qualified
                  27
                          interpreters, transcription services, assistive listening devices, audio recordings, Brailled
                  28      materials, and screen reader software).
F OLGER L EVIN   LLP                                                                           DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -13-         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                          CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 19 of 29



                      1   that Plaintiffs identify the allegedly discriminatory policy or practice that has resulted in the lack

                      2   of equivalent WAV service.

                      3          But in their class definition and Motion, Plaintiffs make no reference whatsoever to any

                      4   policy or practice that could be modified to offer them WAV service. This is clearly inadequate:

                      5   as the Supreme Court has stated, Rule 23 sets forth more than “a mere pleading standard.” Dukes,

                      6   564 U.S. at 350. In ADA class actions, plaintiffs must, through their allegations and evidence,

                      7   come forward with a factual basis upon which the courts are able to assess the specific policies or

                      8   practices that were being claimed at the class certification stage. See, e.g., Shields v. Walt Disney

                      9   Parks & Resorts US, Inc., 279 F.R.D. 529, 540 (C.D. Cal. 2011) (identifying 10 classes of

                  10      visually impaired individuals who suffered harm as a result of specific policies or practices at

                  11      Disney parks and resorts); Am. Council of the Blind v. Astrue, No. C-05-04694-WHA, 2008 U.S.

                  12      Dist. LEXIS 123376 (N.D. Cal. September 11, 2008) (plaintiffs sought to require SSA to provide

                  13      benefits information in five accessible formats; granting class certification in part and narrowing

                  14      the class definition to cover only those programs for which plaintiffs sought to compel action).

                  15             The framework of the ADA demands Plaintiff to do more than simply assert a class that is

                  16      premised on the alleged failure to provide “equivalent service,” because nothing in the ADA

                  17      requires Lyft to offer an “equivalent” WAV service. What Plaintiffs must do instead is identify

                  18      the factual bases for their theory of discrimination, including identifying the specific policies or

                  19      procedures, the modification of which they contend will lead to an equivalent WAV service

                  20      across the entire putative class. See B.K., 922 F.3d at 975-76 (“without further findings on the

                  21      policies or practices that caused” the alleged failure to provide adequate services, it is not clear

                  22      whether the failures caused the same deprivations across the whole subclass).

                  23             The very foundation of Plaintiffs’ class definition is at odds with the language of the ADA

                  24      and the claim they have pled. The Court should deny the Motion.

                  25
                                 B.      By Failing To Identify Any Specific Policy Or Procedure To Be Modified,
                  26                     Named Plaintiffs Have Failed To Establish Standing.

                  27             Plaintiffs’ failure to identify the elements of their ADA claim, in addition to making it

                  28      impossible to fashion a class, makes it impossible for this Court to determine whether the four
F OLGER L EVIN   LLP                                                                          DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -14-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                         CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 20 of 29



                      1   named Plaintiffs have standing to pursue injunctive relief on behalf of any class.

                      2          To seek injunctive relief on behalf of a class, the named Plaintiffs must establish “an

                      3   injury that is concrete, particularized, and actual or imminent; fairly traceable to the defendant’s

                      4   challenged action; and redressable by a favorable ruling,” B.K., 922 F.3d at 966, as well as “a real

                      5   and immediate threat of repeated injury in the future.” Chapman v. Pier 1 Imports Inc., 631 F.3d

                      6   939, 946 (9th Cir. 2011) (en banc); Los Angeles v. Lyons, 461 U.S. 95, 111 (1983). In a proposed

                      7   class action such as this, questions relating to the named Plaintiffs’ standing and entitlement to

                      8   equitable relief, the propriety of class certification, and the availability of systemwide relief will

                      9   often overlap. See Armstrong v. Davis, 275 F.3d 849, 860 (9th Cir. 2001). “Although these

                  10      inquiries may intersect, standing and entitlement to equitable relief are threshold jurisdictional

                  11      requirements that must be satisfied prior to class certification.” Stevens v. Harper, 213 F.R.D.

                  12      358, 366 (E.D. Cal. 2002), citing Prado-Steiman v. Bush, 221 F.3d 1266, 1280 (11th Cir. 2000).

                  13             At the class certification stage, Plaintiffs’ burden to establish standing is an evidentiary

                  14      one. Evans v. Linden Research, Inc., No. C 11-01078 DMR, 2012 U.S. Dist. LEXIS 166006, at

                  15      *17 (N.D. Cal. Nov. 20, 2012) (at class certification, plaintiffs must “demonstrate, not merely

                  16      allege” that they have Article III standing to bring the claims asserted on behalf of the class); see

                  17      also San Diego Gun Rights Comm. v. Reno, 98 F.3d 1121, 1126 (9th Cir. 1996) (“plaintiffs bear

                  18      the burden of establishing their standing to sue . . . because plaintiffs seek declaratory and

                  19      injunctive relief only, there is a further requirement that they show a very significant possibility

                  20      of future harm”); Nelsen v. King Cnty., 895 F.2d 1248, 1249-50 (9th Cir. 1990) (“Standing is a

                  21      jurisdictional element that must be satisfied prior to class certification.”) (citation and quotation

                  22      marks omitted). Because plaintiffs “must demonstrate standing separately for each form of relief

                  23      sought,” the named Plaintiffs must establish imminent injury traceable to each separate Lyft

                  24      policy or practice that they seek to modify or enjoin. Friends of the Earth, Inc. v. Laidlaw

                  25      Environmental Services, Inc., 528 U.S. 167, 185 (2000); see also Lewis v. Casey, 518 U.S. 343,

                  26      358 n.6 (1996) (“standing is not dispensed in gross” and is limited to the injury shown).

                  27             But here, Plaintiffs have failed to identify any actual “policy or practice” which, if

                  28      modified, would eliminate the allegedly discriminatory condition. See Chapman, 631 F. 3d at 947
F OLGER L EVIN   LLP                                                                           DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -15-         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                          CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 21 of 29



                      1   (the “standing analysis must focus on the nature and source of [the plaintiff’s] claim –

                      2   discrimination as defined by the ADA”) (emphasis added). While Plaintiffs make a reference to

                      3   Lyft’s driver and rider incentive programs (see Motion at 7-8), they make no attempt to show how

                      4   a change to any incentive program would bring about the change they want, which is the

                      5   provision of “adequate or equivalent WAV service in the Bay Area.” Id. at 8:5. Plaintiffs’

                      6   references to the scale of Lyft’s network, “machine learning algorithms,” and “data insights” (id.

                      7   at 7) similarly fail to explain how Lyft could enact necessary changes to any policy or practice to

                      8   make WAVs appear on Lyft’s platform in sufficient numbers to ensure Plaintiffs’ concept of

                      9   “equivalent service,” or whether the change in policy would result in the appearance of a

                  10      sufficient number of WAVs to cover (never mind provide “equivalent service” throughout) the

                  11      entire 1,500 square mile area at issue. Plaintiffs thus “fail to link their injuries to any particular

                  12      policies or practices or allege that they will be directly affected by these policies or practices in

                  13      the future.” 6 Stevens, 213 F.R.D. at 368; Chapman, 631 F. 3d 939.

                  14              This paucity of evidence (or even any factual allegations) stands in sharp contrast to other

                  15      class actions seeking systemic relief. In Armstrong, plaintiffs provided “overwhelming” evidence

                  16      of repeated violations to themselves and other class members via specific board policies and long-

                  17      standing practices. 275 F.3d at 864; see also B.K., 922 F.3d at 967 (plaintiff presented evidence of

                  18      lack of adequate medical care and of statewide policies and practices exposing her to a risk of

                  19      similar future harms). By contrast, here, Plaintiffs have not shown how the injuries they suffered

                  20
                                  6
                  21                Lyft reserves its right to challenge other elements of standing, including Plaintiffs’
                          deterrence theory of harm, at a later date. Plaintiffs here invoke the “deterrent effect doctrine” to
                  22      establish an injury in fact. Chapman, 631 F.3d at 946. To establish an injury under this theory, a
                          plaintiff must demonstrate that it was the discriminatory condition that deterred her from
                  23      returning to an allegedly non-compliant accommodation. Pickern v. Holiday Quality Foods, 293
                  24      F.3d 1133, 1137 (9th Cir. 2002). Here, two Plaintiffs, Ms. Ayres and Ms. Fuller, testified that it is
                          not the lack of WAV access, but the desire to participate in this litigation, that has kept them from
                  25      using Lyft’s services. Ayres Depo.[Ex. 1] at 65:6-11; Fuller Depo.[Ex. 6] at 43:5-19. Ms. Fuller
                          also testified that she has not used a taxi since childhood due to an incident with a driver, and has
                  26      not downloaded the Lyft app in part because she is not sure she would understand how to use it.
                          Fuller Depo.[Ex. 6] at 28:12-29:10, 38:5-18. These are examples of testimony that raise serious
                  27
                          questions as to whether Plaintiffs have been deterred from using Lyft’s service because of Lyft’s
                  28      alleged non-compliance with the ADA.
F OLGER L EVIN   LLP                                                                            DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                            -16-         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                           CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 22 of 29



                      1   in the past can “fairly be traced” to Lyft’s policies or practices to support injunctive relief. La

                      2   Duke v. Nelson, 762 F.2d 1318, 1323 (9th Cir. 1985). Plaintiffs have failed to establish standing.

                      3
                                 C.      Plaintiffs Have Failed To Demonstrate That Common Issues Will Drive This
                      4                  Litigation.

                      5          Plaintiffs’ failure to identify any “policy or practice” allegedly causing the lack of WAVs

                      6   on the Lyft platform also dooms a finding of commonality under Rule 23(a)(2).

                      7          “In this case, as in all class actions, commonality cannot be determined without a precise

                      8   understanding of the nature of the underlying claims.” Parsons, 754 F.3d at 676. To assess

                      9   whether the putative class members share a common question, the Court must identify and

                  10      examine the elements of Plaintiffs’ case-in-chief. Id. (citing Stockwell v. City & Cty. of San

                  11      Francisco, 749 F.3d 1107, 1114 (9th Cir. 2014)). As noted above in Part III.A.4, the relevant

                  12      elements of Plaintiffs’ ADA claim are that (1) Lyft employed a discriminatory policy or practice,

                  13      and (2) Lyft discriminated against Plaintiffs by failing to make a requested reasonable

                  14      modification to its policy or practice that was necessary to accommodate Plaintiffs’ disability.

                  15      Fortyune, 364 F. 3d at 1083.

                  16             Here, Plaintiffs have not only failed to submit any evidence of a discriminatory policy or

                  17      practice they allege should be modified, they fail to even identify such a policy or practice.

                  18      Instead, Plaintiffs contend “[c]ommon questions of fact include, among others, whether

                  19      reasonable modifications can be made to Lyft’s programs so that Lyft could offer on-demand

                  20      ridesharing service using WAVs.” Motion, 17:1-2 (emphasis added). There are at least five major

                  21      problems with Plaintiffs’ contention.

                  22             First, under the legal framework of the ADA, Plaintiffs have no basis for seeking a change

                  23      to Lyft’s programs. As discussed in detail in Part III.A above, like other private entities, Lyft is

                  24      entitled to offer the program or service it offers, even if the program or service is not accessible or

                  25      usable by everyone. Absent some legal authority that Plaintiffs may compel the creation of a new

                  26      program or service under the ADA, Plaintiffs cannot satisfy commonality.

                  27             Second, at this class certification stage, Plaintiffs must identify the allegedly

                  28      discriminatory policy or practice that they claim is subject to reasonable modification. Parsons,
F OLGER L EVIN   LLP                                                                           DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -17-         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                          CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 23 of 29



                      1   754 F.3d at 676. “[U]tterly threadbare allegations that a group is exposed to illegal policies and

                      2   practices” are not enough to confer commonality. Parsons, 754 F.3d at 683. See also DL v.

                      3   District of Columbia, 713 F.3d 120, 126 (D.C. Cir. 2013) (commonality not shown where class

                      4   action had not identified “a single policy or practice that bridges all their claims”); Civil Rights

                      5   Educ. & Enf’t Ctr. v. Hosp. Props. Tr. (“CREEC”), 867 F.3d 1093, 1104 (9th Cir. 2017)

                      6   (allegations of an unwritten, de facto policy of non-compliance insufficient to support class

                      7   certification).

                      8           Third, Plaintiffs cannot simply claim to be harmed by Lyft’s failure to offer WAV service

                      9   because the “failure to offer WAV service” is not, standing alone, discrimination under the ADA.

                  10      “[M]erely pointing to a pattern of harm, untethered to the defendant’s conduct, is insufficient.”

                  11      CREEC, 867 F.3d at 1104, citing Nordstrom v. Ryan, 762 F.3d 903, 911 (9th Cir. 2011). Because

                  12      Plaintiffs have not identified any specific policy or procedure to be modified, this Court has no

                  13      basis on which it could examine whether the lack of WAV service on the Lyft platform resulted

                  14      from such policy or procedure.

                  15              Fourth, that Lyft offers a robust WAV program in New York City as a result of the TLC

                  16      regulations, or even that Lyft offers other WAV programs in certain cities, including San

                  17      Francisco, is irrelevant to assessing commonality. 7 Those WAV programs, whether they were

                  18      undertaken voluntarily or involuntarily by Lyft, do not change the ADA’s requirements, nor do

                  19      they result in the imposition on Lyft of a greater duty than that the ADA otherwise imposes. See,

                  20      e.g., Atencio v. United States Postal Serv., 198 F. Supp. 3d 340, 360 (S.D.N.Y. 2016) (“providing

                  21

                  22              7
                                   It is worth noting that in each instance, Lyft has been able to offer a WAV program only
                          by creating an inorganic supply of WAV drivers that did not previously exist, at the cost of
                  23      millions of dollars. Nothing in the ADA requires Lyft to create a supply of WAV drivers where
                  24      none exists. Requiring a private entity to create a supply of drivers is not a modification of a
                          policy or practice, nor is it a “reasonable” one. See, e.g., 28 C.F.R. Part 36, Appendix C (Section
                  25      36.302 Modifications in Policies, Practices, or Procedures) (while the ADA mandates
                          accessibility to a bookstore, it “would not require a bookstore to stock Brailled books or order
                  26      Brailled books, if it does not do so in the normal course of its business”). Moreover, requiring
                          Lyft to create a supply of WAV drivers is a fundamental alteration of Lyft’s business that is not
                  27
                          required under the ADA. See, e.g., 49 C.F.R. Part 37, Appendix E (describing requests for special
                  28      equipment or dedicated vehicles as fundamental alteration).
F OLGER L EVIN   LLP                                                                          DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -18-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                         CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 24 of 29



                      1   an accommodation that goes above and beyond what the Act requires does not subject an

                      2   employer to liability when it discontinues such accommodation, or constitute an admission that

                      3   the accommodation is reasonable as defined by the Act.”); O’Byrne v. Reed, No. CV 09-08406

                      4   DMG (DTBx), 2010 U.S. Dist. LEXIS 153617, at *16 (C.D. Cal. Feb. 5, 2010) (when an entity

                      5   “voluntarily goes beyond its statutory duty” under the ADA with respect to one service, it does

                      6   not create a parallel obligation with respect to another). To hold otherwise would indeed create

                      7   perverse incentives, as no private company, including Lyft, would ever voluntarily engage in pilot

                      8   programs to see if they could improve services to individuals with disabilities.

                      9          Fifth, because Plaintiffs have not identified any specific policy or procedure, this Court

                  10      has no basis on which to assess whether the putative class members across the three Bay Area

                  11      Counties were impacted the same way. The availability of Lyft service and the response time

                  12      depend on availability of drivers, which in turn, is affected by factors such as demand for rides,

                  13      geographic location, and population density. Muñoz Decl. ¶¶ 10-12. Getting a ride within mere

                  14      minutes is much easier in densely populated areas of San Francisco, than in sparsely populated or

                  15      rural areas of Alameda or Contra Costa Counties. See id. Plaintiffs have given this Court no basis

                  16      to determine that modifying a policy or procedure will impact all putative members in the same

                  17      way across the approximately 1,500 square mile area that comprises the Bay Area Counties.

                  18      Plaintiffs have failed to demonstrate commonality.

                  19
                                 D.      Plaintiffs Have Not Shown Their Claims Are Typical Of The Claims Of
                  20                     Absent Class Members.

                  21             Under Rule 23(a)(3), the “test of typicality is ‘whether other members have the same or

                  22      similar injury, whether the action is based on conduct which is not unique to the named plaintiffs,

                  23      and whether other class members have been injured by the same course of conduct.’” Parsons,

                  24      754 F.3d at 685 (quoting Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)).

                  25             Here, Plaintiffs have not identified any “course of conduct” by Lyft other than that it does

                  26      not offer WAV service. This is in stark contrast to plaintiffs in other class actions, who support

                  27      their motions with data, deposition testimony, expert reports, and other evidence demonstrating

                  28      that putative class members are those who will be harmed by the defendants’ conduct. See, e.g.,
F OLGER L EVIN   LLP                                                                         DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                          -19-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                        CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 25 of 29



                      1   B.K., 922 F.3d at 970. The failure to identify a course of conduct makes it impossible to assess

                      2   typicality.

                      3           Another barrier to showing typicality is that Lyft has offered WAV service in San

                      4   Francisco since July 2019. The Court cannot conclude named plaintiff Sascha Bittner, a San

                      5   Francisco resident who has deliberately chosen not to take part in the SF WAV Pilot because she

                      6   believes Lyft should offer 24-hour WAV service with 15 minute response times, has been injured

                      7   in the same way as a putative class member living in Tracy, California. See Armstrong, 275 F.3d

                      8   at 869 (the typicality inquiry involves comparing the injury of the named plaintiff with those of

                      9   unnamed class members). Typicality has not been satisfied.

                  10              E.     Plaintiffs Fail To Meet The Requirements Of Rule 23(b)(2).
                  11              Rule 23(b)(2) provides for class certification only when a single injunction or declaratory

                  12      judgment would provide relief to each member of the class. Dukes, 564 U.S. at 360. Although

                  13      Plaintiffs need not “specify the precise injunctive relief they will ultimately seek at the class

                  14      certification stage,” B.K., 922 F.3d at 972, they must nonetheless provide the “general contours of

                  15      an injunction that would provide relief to the whole class.” Id. (citations omitted). This injunction

                  16      must be more “specific than a bare injunction to follow the law.” Id. (citations omitted).

                  17              Even if a single injunction could be deemed appropriate across all three Bay Area

                  18      Counties in light of Lyft’s SF WAV Pilot, Plaintiffs offer no guidelines or contours for any

                  19      “reasonable modification” to Lyft’s policies or practices that would result in the “equivalent”

                  20      class-wide service they seek. Cf. Parsons, 754 F.3d at 687 (granting Rule 23(b)(2) class

                  21      certification where plaintiffs introduced four expert reports explaining the specific policies that

                  22      were deficient, with descriptions of court-ordered policy remedies that could alleviate the alleged

                  23      violations). For example, Plaintiffs have put forth no evidence of a common discriminatory policy

                  24      (e.g., that Lyft discourages WAV drivers from joining Lyft’s platform), or even that there is a

                  25      supply of Bay Area WAV drivers who could be incentivized to join Lyft’s platform in sufficient

                  26      numbers to provide “equivalent” service. Cf. Civil Rights Educ. & Enf’t Ctr. v. Hosp. Props. Tr.,

                  27      317 F.R.D. 91, 105 (N.D. Cal. 2016) (denying class certification where plaintiffs’ suggestion that

                  28      the court could “issue an injunction requiring [defendant] to comply with the ADA” was nothing
F OLGER L EVIN   LLP                                                                          DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -20-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                         CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 26 of 29



                      1   more “a bare injunction to follow the law”), affirmed on other grounds, 867 F.3d 1093 (9th Cir.

                      2   2017); Maldonado v. Ochsner Clinic Found., 493 F.3d 521, 524 (5th Cir. 2007) (denying class

                      3   certification where appellants sought “mutually affordable health care,” but failed “to identify any

                      4   way to determine what a reasonable or ‘mutually affordable’ rate is); Castaneda v. Burger King

                      5   Corp., 264 F.R.D. 557, 566 (N.D. Cal. 2009) (denying certification of a 92-store class because

                      6   injunctive relief is only appropriate as to those stores where there are statutory violations).

                      7          Because Plaintiffs have failed to meet their burden of describing even the “general

                      8   contours” of an injunction that would constitute a reasonable modification under the ADA, a Rule

                      9   23(b)(2) class should not be certified.

                  10             F.      Plaintiffs Fail To Satisfy The Requirement Of Numerosity.
                  11             As in the case of the other Rule 23 elements discussed above, Plaintiffs’ failure to identify

                  12      an allegedly discriminatory policy or practice to be modified renders it impossible for Lyft or the

                  13      Court to evaluate whether the requirement of numerosity has been met as to each class or

                  14      subclass. But even if the class definition proposed by Plaintiffs in their Motion is accepted at face

                  15      value, Plaintiffs have failed to demonstrate numerosity under Rule 23(a)(1).

                  16             Plaintiffs define their proposed class as individuals in the Bay Area Counties who (1) need

                  17      WAVs for transportation, (2) are deterred from using Lyft due to Lyft’s failure to provide

                  18      “equivalent transportation services for WAV users,” and (3) have not downloaded the Lyft app.

                  19      Plaintiffs dedicate just one paragraph and footnote of their Motion to demonstrating their factual

                  20      bases for numerosity (Motion at 15:22-16:3 and n.2), and ask the Court to assume, based on

                  21      Census data regarding an estimated number of wheelchair users, that the size of the proposed

                  22      class must far exceed any relevant numerical threshold. This is inadequate.

                  23             The Census data cited by Plaintiffs fail to account for the many reasons why an individual

                  24      WAV user may be deterred from using Lyft. Among the myriad reasons include the following:

                  25      (1) the individual may have limited income, and thus has a limited budget for transportation

                  26      (Fuller Depo. [Ex. 6] at 34:14-22; Finn Depo. [Ex. 7] at 38:18-22, 41:16-42:1); (2) she may not

                  27      be able to travel outside her home independently due to her disabilities; (3) she may not own a

                  28      smartphone (Bittner Depo. [Ex. 3] at 38:10-11; Finn Depo. [Ex. 7] at 48:16-21); (4) she may not
F OLGER L EVIN   LLP                                                                          DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -21-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                         CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 27 of 29



                      1   be comfortable with technology (Fuller Depo. [Ex. 6] at 38:9-12); (5) she may not like the idea of

                      2   engaging in financial transactions, such as paying for Lyft rides, by using the app; (6) she may be

                      3   using Uber’s WAV service and is comfortable with that service (Giacopini Depo. [Ex. 2] at

                      4   75:24-76:3); (7) she may prefer paratransit, public transit, or other services available to her at a

                      5   reduced price (Hinze Depo. [Ex. 8] at 15:13-16, 17:1-2), or (8) she may have access to a personal

                      6   or family-owned WAV, and she does not feel the need for alternative on-demand transportation.

                      7   For WAV users who live or work in San Francisco, where Lyft started providing WAV service in

                      8   July 2019, the reasons may also include that the individual may not know of the SF WAV Pilot.

                      9          That there may be alternate reasons for a lack of interest in an on-demand WAV service is

                  10      demonstrated by the report Plaintiffs cite. In footnote 2 of their Motion, Plaintiffs cite Stephen

                  11      Brumbaugh, Issue Brief: Travel Patterns of American Adults with Disabilities 2 (2018), available

                  12      at: https://www.bts.gov/sites/bts.dot.gov/files/docs/explore-topics-and-

                  13      geography/topics/passenger-travel/222466/travel-patterns-american-adults-disabilities-9-6-

                  14      2018.pdf. This publication confirms that a large segment of individuals with travel-limiting

                  15      disabilities are: older; live in households with annual household incomes under $25,000; are less

                  16      likely to use technology, and/or; are unable to leave their homes due to their disabilities. See id. at

                  17      1. Given the range of potential reasons why a putative class member may not be interested in

                  18      using Lyft’s WAV service, Plaintiffs may not rely on assumptions and speculation to satisfy the

                  19      numerosity requirement. See, e.g., Davis v. Astrue, 250 F.R.D. 476, 486 (N.D. Cal. 2008)

                  20      (although 1,947,274 people with mental disorders receive SSDI benefits, plaintiff failed to show

                  21      the percentage of the total who were attempting to work or what “subset of the unidentified

                  22      percentage” of them had been subject to the conduct at issue).

                  23             Celano v. Marriott Int’l, Inc. highlights the inadequacy of Plaintiffs’ showing on

                  24      numerosity. 242 F.R.D. 544 (N.D. Cal. 2007). In Celano, plaintiffs (also represented by Disability

                  25      Rights Advocates) sought to certify a class of individuals with mobility disabilities who required

                  26      “single-rider” golf carts to play golf at Marriott-owned or operated golf courses. While plaintiffs

                  27      submitted “21 declarations from individuals who are mobility-impaired golfers (including the

                  28      three named plaintiffs)” plus census data, the court found the evidence “too ambiguous and
F OLGER L EVIN   LLP                                                                          DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                           -22-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                         CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 28 of 29



                      1   speculative to establish numerosity.” Id. at 548-549. While plaintiffs were not required to

                      2   demonstrate the number of potential class members with certainty, “any common sense inferences

                      3   that plaintiffs urge[d] the court to make [must] be based upon something other than rank

                      4   speculation untethered to real facts.” Id. at 550. The court noted that plaintiffs and their attorneys

                      5   were active in disability rights organizations, but there was “no indication that the disabled

                      6   membership of any of [these] organizations . . . [had] been polled on their interest and/or attempts

                      7   to play at Marriott courses.” The court found that, “absent that kind of information, plaintiffs

                      8   fail[ed] to link their population data to the alleged violation and injury at issue.” Id. 8

                      9           Just as in Celano, despite the participation of two organizational plaintiffs serving several

                  10      hundred individuals annually, Plaintiffs have not submitted any membership polls gauging an

                  11      interest in Lyft’s WAV service; instead, they have offered just eight declarations (including four

                  12      by the named Plaintiffs). The representatives for the organizational Plaintiffs, moreover, were not

                  13      able to identify any putative class members, other than the named Plaintiffs and three staff and

                  14      board members who submitted declarations. See Finn Depo. [Ex. 7] at 42:25-43:21, Giacopini

                  15      Depo. [Ex. 2] at 55:5-25, 56:17-57:14; Hinze Depo. [Ex. 8] at 32:6-16; Nieves Depo. [Ex. 4] at

                  16

                  17              8
                                    The Celano court is not the only court to demand evidence of numerosity so that it can
                          evaluate numerosity based on more than assumptions or speculation. See also Marcus v. BMW of
                  18
                          N. Am., LLC, 687 F.3d 583, 597 (3d Cir. 2012) (even though BMW had a nationwide presence,
                  19      the “complete lack of evidence specific to BMWs purchased or leased in New Jersey” with the
                          alleged defect “crossed the line separating inference and speculation); Vega v. T-Mobile USA,
                  20      Inc., 564 F.3d 1256, 1267 (11th Cir. 2009) (fact that T-Mobile employed “thousands” of retail
                          sales associates nationwide could not demonstrate a sufficiently numerous class of retail sales
                  21      associates employed by T-Mobile in Florida); Jeffries v. Pension Trust Fund, 172 F. Supp. 2d
                  22      389, 394 (S.D.N.Y. 2001) (overall number of laid off employees does not establish numerosity
                          absent evidence of how many of those employees suffered the alleged injury); Schwartz v. Upper
                  23      Deck Co., 183 F.R.D. 672, 681–82 (S.D. Cal. 1999) (“[s]ales volume standing alone cannot serve
                          as the basis of a numerosity finding” where only a subset of purchasers constituted the putative
                  24      class); LeGrand v. N.Y.C. Transit Auth., 95-CV-0333 (JG), 1999 U.S. Dist. LEXIS 8020, at *11
                          (E.D.N.Y. May 26,1999) (numerosity not satisfied because the statistical data on number of
                  25      employees who took maternity leave did not suffice to show the number of women who suffered
                  26      pregnancy discrimination); Greenn v. Borg-Warner Protective Servs. Corp., 1998 U.S. Dist.
                          LEXIS 292, at *11-13 (S.D.N.Y. Jan. 15, 1998) (fact that four thousand adults reside in shelters
                  27      on any given day, along with some reports of assault and misconduct at shelters, does not
                          establish numerosity based on a “substantial percentage” of them hypothetically suffering the
                  28      same misconduct).
F OLGER L EVIN   LLP                                                                            DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                            -23-         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                           CASE NO. 3:19-CV-01438-WHA
                           Case 3:19-cv-01438-WHA Document 50 Filed 12/26/19 Page 29 of 29



                      1   25:1-27:8.

                      2               Plaintiffs’ inability to specifically identify even ten putative class members is striking.

                      3   Plaintiffs have not demonstrated numerosity and the Motion should be denied on that basis.

                      4                                              IV.    CONCLUSION
                      5               On a motion for class certification, Plaintiffs must affirmatively demonstrate their

                      6   compliance with Rule 23 and “be prepared to prove that there are in fact sufficiently numerous

                      7   parties, common questions of law or fact, etc.” Dukes, 564 U.S. at 350. Plaintiffs have failed to

                      8   make such a showing. Lyft respectfully requests that the Court deny the Motion.

                      9   Dated: December 26, 2019                                          FOLGER LEVIN LLP
                  10                                                                       /s/ Jiyun Cameron Lee
                  11                                                                        Jiyun Cameron Lee
                                                                                          Attorneys for Defendant
                  12                                                                            LYFT, INC.
                  13

                  14      1047680.1

                  15

                  16

                  17

                  18

                  19

                  20

                  21

                  22

                  23

                  24

                  25

                  26

                  27

                  28
F OLGER L EVIN   LLP                                                                              DEFENDANT LYFT, INC.’S OPPOSITION TO
 ATTO RNEY S AT LAW
                                                                               -24-        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION;
                                                                                                             CASE NO. 3:19-CV-01438-WHA
